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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                     Case No. 1:16-cv-1534-JEB
                                                     (and Consolidated Case Nos. 16-cv-1796
                Plaintiff,
                                                     and 17-cv-267)
        and
                                                     PLAINTIFFS’ STATUS REPORT
CHEYENNE RIVER SIOUX TRIBE,

                Plaintiff-Intervenor,
        v.

U.S. ARMY CORPS OF ENGINEERS,

                Defendant-Cross Defendant,

        and

DAKOTA ACCESS, LLC,

                Defendant-Intervenor-Cross
                Claimant.


        Plaintiffs Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe,

and Yankton Sioux Tribe (collectively, “Tribes”) respectfully submit the following status report

in response to this Court’s September 1, 2020 minute order requesting “proposals for next steps

in the litigation.”

        The Status Report filed by the defendant U.S. Army Corps of Engineers fails to respond

to the directive of the Court of Appeals. In its August 5, 2020 Order, the Circuit directed the

Court to “clarify… whether the Corps intends to allow continued operation of the pipeline

notwithstanding vacatur of the easement.” The Corps’ Status Report provides no such

clarification. Instead, the Corps has explained what its options are, and proposed no deadline

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for making a final decision. To summarize, the status report explains that the pipeline constitutes

an “encroachment” on federal property, and that there are essentially three options for moving

ahead: a) order the removal of the pipeline; b) issue an “outgrant” authorizing continued

operation of the pipeline; and c) do nothing as an exercise of enforcement discretion. The

Tribes submit that it is highly unlikely that the Corps would pursue the first option in light of the

presidential directive to complete the pipeline and the federal government’s position in this case.

As to the second option, as the Corps concedes, issuance of an outgrant would be subject to

NEPA. Under this Court’s rulings, such authorization could not be lawfully done without an

environmental impact statement, precisely what the Corps must already be doing to respond to

this Court’s merits decision. Accordingly, an outgrant is not feasible for interim operations

while the EIS is being prepared. Thus, the inevitable choice is that the Corps will take no action

to shut down the pipeline in response to the NEPA violation identified by this Court. It previews

this course of action by stating in its status report that it has decided not to take an enforcement

action “at this time,” and it may continue to remain in this posture.

       The Tribes strongly oppose the continued operation of the pipeline in violation of NEPA.

The Corps’ promise that the EIS will be completed in a timely fashion is obviously illusory:

although the Court directed it to prepare an EIS in March of this year, the Corps still has not even

taken the first step of publishing a notice of intent, which it now indicates will occur in

September. The Court of Appeals invited this Court to “consider additional relief,” subsequent

to the Corps’ status report, and the Tribes believe that additional relief from this Court is

necessary in light of the Corps’ non-response.




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       For that reason, the Tribes request the Court issue an injunction on continued pipeline

operations pending completion of the NEPA process. 1 In the Tribes’ view, this Court already

has all the information it needs to enter an injunction: the Tribes’ success on the merits; the

continued harm the pipeline imposes on the Tribes and the public, both through continued

trauma to the Tribes and the risks of operating an unsafe pipeline; the balance of equities and the

impacts to defendants and third parties; and the public interest. The Court fully considered those

issues already as part of both its vacatur order and its order denying a stay pending appeal.

Accordingly, no additional evidence or briefing is necessary for the Court to issue an injunction

shutting down the pipeline pending compliance with NEPA. Requiring yet another round of

briefing and updating of the extensive evidence submitted in March will prejudice the Tribes.

       Should the Court desire additional briefing and/or evidence, the Tribes will of course

provide it. However, the Tribes respectfully request that the Court specify in what respects it

believes the existing record is incomplete, so that the parties do not submit redundant briefing or

evidence. Moreover, in light of the Court of Appeals briefing and argument schedule, and the

challenges imposed by the pandemic, the Tribes agree that the parties should have an opportunity

to agree to a briefing schedule.

       Finally, this Court invited the parties to discuss potential mitigation measures.

Defendants undermine any norm of “good faith” negotiations by repeatedly submitting the

correspondence to this Court. In its most recent letter (and characterization thereof to the Court),

DAPL states that that the Tribes already have most of the information they are looking for. This


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 The Tribes strongly disagree that a separate injunction is necessary to shut down the operation
of the pipeline, which is achieved through vacatur alone. By requesting an injunction from this
Court, the Tribes do not waive their position before the Court of Appeals or any other court that
an injunction is unnecessary, and that this court had authority to order the pipeline to shut down
as part of a vacatur remedy.

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is incorrect. For example, whereas the Tribes sought a particular version of the facility response

plan (because it may reveal a significant change from later versions), DAPL simply points to the

later version. Where the Tribes sought facility-specific operations and management plans and

integrity management plans, DAPL pointed again to different (company-wide) plans. And where

the Tribes sought specific documents demonstrating compliance with industry standards, DAPL

pointed back to its executives’ litigation declarations. Other information requested by the

Tribes—specifically, information related to the doubling of pipeline capacity—are waved away

as irrelevant. As has been the case throughout the process, the Tribes’ requests for information

are stonewalled. While the Tribes will continue to seek a path forward to reach agreement, it is

unlikely to be productive if it cannot be separated from the parties’ litigation positions.

                                     [Signature page follows]




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Dated: September 8, 2020

                                                 Respectfully Submitted,


 /s/ Jan E. Hasselman                            /s/ Nicole E. Ducheneaux
 Jan E. Hasselman, WSBA # 29107                  Nicole E. Ducheneaux
 (Admitted Pro Hac Vice)                         Big Fire Law & Policy Group LLP
 Patti A. Goldman, DCB # 398565                  1404 Fort Crook Road South
 Stephanie Tsosie, WSBA # 49840                  Bellevue, NE 68005
 (Admitted Pro Hac Vice)                         Telephone 531-466-8725
 Earthjustice                                    Email: nducheneaux@bigfirelaw.com
 810 Third Avenue, Suite 610                     Counsel for Plaintiff Cheyenne River Sioux
 Seattle, WA 98104                               Tribe and Steve Vance
 Telephone: (206) 343-7340
 pgoldman@earthjustice.org
 jhasselman@earthjustice.org
 stsosie@earthjustice.org
 Attorneys for Plaintiff Standing Rock Sioux
 Tribe

 /s/ Michael L. Roy                              /s/ Jennifer S. Baker
 Michael L. Roy (DC Bar No. 411841)              Jennifer S. Baker, Pro Hac Vice
 mroy@hobbsstraus.com                            Jeffrey S. Rasmussen, Pro Hac Vice
 Jennifer P. Hughes (DC Bar No. 458321)          Patterson Earnhart Real Bird & Wilson LLP
 jhughes@hobbsstraus.com                         357 S. McCaslin Blvd.
 Elliott A. Milhollin (DC Bar No. 474322)        Suite 200
 emilhollin@hobbsstraus.com                      Louisville, CO 80027
 Hobbs, Straus, Dean &Walker, LLP 2120 L         Telephone: 303-926-5292
 Street, NW, Suite 700                           Fax: 303-962-5293
 Washington, DC 20037                            Email: jbaker@nativelawgroup.com
 Telephone: (202) 822-8282                       Counsel for Plaintiff Yankton Sioux Tribe and
 Facsimile: (202) 296-8834                       Robert Flying Hawk
 Counsel for Plaintiff Oglala Sioux Tribe




                                                                           Earthjustice
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                                                                           (206) 343-7340
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